






NO. 07-08-0106-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 28, 2008



______________________________




In re JOHANSON LEE WATSON,



									Relator  

_________________________________



Opinion on Original Proceeding for Writ of Mandamus


_______________________________


Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

	Johanson Lee Watson, an indigent inmate, seeks a writ of mandamus to compel the
trial court to rule on his application for writ of habeas corpus.  Through the purported
application for habeas corpus, he attempts to nullify his prior felony conviction.  For the
reason expressed below, we dismiss for want of jurisdiction.

	The Court of Criminal Appeals has exclusive jurisdiction over post-conviction writs
of habeas corpus in felony cases.  See id.; Board of Pardons and Paroles ex. rel. Keene
v. Court of Appeals for the Eighth Dist., 910 S.W.2d 481, 483 (Tex. Crim. App.1995); In re
Briscoe, 230 S.W.3d 196, 196 (Tex. App.-Houston [14th Dist.] 2006) (original proceeding)
(stating that courts of appeal have no jurisdiction over post-conviction writs of habeas
corpus in felony cases).  So, to complain about any action, or inaction, of the convicting
court, the applicant may seek mandamus relief from the Court of Criminal Appeals.  See
In re Briscoe, 230 S.W.3d at 196. 	

	Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.

 

							Per Curiam




 






						



t-align: center"&gt;FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

OCTOBER 1, 2008

______________________________


DAVID SINCHES, APPELLANT

v.

THE STATE OF TEXAS, APPELLEE


_________________________________

FROM THE 31ST DISTRICT COURT OF GRAY COUNTY;

NO. 7595; HON.STEVEN RAY EMMERT, PRESIDING

_______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant David Sinches attempts to appeal from his conviction of the offense of
forgery by passing and the resulting sentence of twenty-four months in the State Jail
Division of the Texas Department of Criminal Justice.  Sentence was imposed on July 29,
2008.  On that same day, the trial court certified appellant had no right of appeal and that
appellant had waived the right of appeal.  Tex. R. App. P. 25.2.  Appellant filed his notice
of appeal on September 8, 2008.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By a September 16 letter, this Court notified appellant that his notice of appeal
appeared late and directed him to file any documents or matters considered necessary for
the Court to determine its appellate jurisdiction.  By the same letter, this Court advised
appellant that his appeal was subject to dismissal unless the Court received an amended
certification under Rule of Appellate Procedure 25.2 providing that appellant has the right
of appeal or he demonstrated other grounds for continuing the appeal, on or before
October 16, 2008.  Appellant has corresponded with the Court, but his correspondence
does not provide information permitting us to conclude we have jurisdiction over his appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To be timely, a notice of appeal must be filed within 30 days after the sentence is
imposed or suspended in open court or within 90 days after that date if a motion for new
trial is filed.  Tex. R. App. P. 26.2(a).  Appellant’s notice of appeal was not timely filed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A timely notice of appeal is essential to invoke our appellate jurisdiction.  State v.
Riewe, 13 S.W.3d 408, 411 (Tex.Crim.App. 2000); Olivo v. State, 918 S.W.2d 519, 522
(Tex.Crim.App. 1996).  If it is untimely, we can take no action other than to dismiss the
proceeding.  Id. at 523.  See also Slaton v. State, 981 S.W.2d 208, 210 (Tex.Crim.App.
1998).  Further, the rules we must follow require us to dismiss an appeal in a criminal case
in the absence of a certification showing the appellant has the right of appeal.  Tex. R. App.
P. 25.2(d).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, appellant’s appeal is dismissed.



&nbsp;
James T. Campbell

Justice





Do not publish.


